  Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 1 of 22




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE COMMISSION,

                                 Plaintiff,

                        v.                            Civil Action No. 1:23-cv-01599 (ABJ-ZMF)

BINANCE HOLDINGS LIMITED, BAM TRADING
SERVICES INC., BAM MANAGEMENT US
HOLDINGS, INC., AND CHANGPENG ZHAO,

                               Defendants.




       BRIEF OFAMICUS CURIAE CHAMBER OF DIGITAL COMMERCE
           IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS




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      Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 2 of 22




                                                      TABLE OF CONTENTS



Table of Authorities ....................................................................................................................... iii
Interest of the Amicus Curiae ......................................................................................................... 1
Introduction and Summary of Argument ........................................................................................ 2
Argument ........................................................................................................................................ 6
           I.         The Regulation-by-Enforcement Approach Stifles Innovation and Drives
                      Market Participants Offshore .................................................................................. 6
           II.        An Asset that is a Subject of an Investment Contract is not Itself an
                      Investment Contract, so a Venue where that Asset is Traded is not a
                      Securities Exchange .............................................................................................. 10
                      A.         Courts Consistently Distinguish Between the Subject of an
                                 Investment Contract and the Overall Arrangement .................................. 10
                      B.         Recent Court Decisions Generally hold that Tokens are not
                                 Investment Contract Securities ................................................................. 11
                      C.         Transactions in Tokens that are not Securities do not Trigger
                                 Exchange Act Registration Requirements ................................................ 15
           III.       The SEC’s Regulation-By-Enforcement Regime Raises Separation of
                      Powers And Due Process Concerns ...................................................................... 16
Conclusion .................................................................................................................................... 19




                                                                        ii
      Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 3 of 22




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Biden v. Nebraska,
  143 S. Ct. 2355 (2023) .................................................................................................. 16, 17, 19
West Virginia v. EPA,
  142 S. Ct. 2587 (2022) ........................................................................................................ 16, 17
Alabama Association of Realtors v. HHS
  141 S. Ct. 2485 (2021) .............................................................................................................. 16
FDA v. Brown & Williamson Tobacco Corp.,
  529 U.S. 120 (2000) ............................................................................................................ 16, 17
S.E.C. v. W.J. Howey Co.,
  328 U.S. 293 (1946) ........................................................................................................ 4, 10, 15
United States v. Leonard,
  529 F.3d 83 (2d Cir. 2008)........................................................................................................ 10
Bailey v. J.W.K. Prop., Inc.,
  904 F.2d 918 (4th Cir. 1990) .............................................................................................. 10, 15
Gary Plastic Packaging Corp. v. Merrill Lynch, Pierce, Fenner & Smith, Inc.,
  756 F.2d 230 (2d Cir. 1985).......................................................................................... 11, 15, 16
SEC v. Aqua-Sonic Prods. Corp.,
  687 F.2d 577 (2d Cir. 1982)...................................................................................................... 10
Miller v. Cent. Chinchilla Grp., Inc.,
  494 F.2d 414 (8th Cir. 1974) .................................................................................................... 11
SEC v. Glen-Arden Commodities,
  493 F.2d 1027 (2d Cir. 1974).............................................................................................. 10, 15
SEC v. Ripple Labs, Inc.,
  et al., No. 20 Civ. 10832 (AT), 2023 WL 4507900 (S.D.N.Y. July 13, 2023) .................. 12, 14
SEC v. Terraform Labs Pte. Ltd.,
  2023 WL 4858299 (S.D.N.Y. July 31, 2023) ........................................................................... 14
SEC v. Telegram Grp. Inc.,
  448 F.Supp.3d 352 (S.D.N.Y. 2020)................................................................................... 14, 17

Other Authorities

Cryptocurrency Regulations Wanted: Iterative, Flexible, and Pro-Competitive Preferred,
  61 Boston College L. Rev. 1149 (2020) ..................................................................................... 8
The Financial Innovation and Technology for the 21st Century Act (FIT21),
  H.R.4763, 118th Cong. (2023) ................................................................................................. 18
Responsible Financial Innovation Act (RFIA),
  S. 2281, 118th Cong. (2023) ..................................................................................................... 17
Digital Commodities Consumer Protection Act of 2022 (DCCPA),
  S. 4760,117th Cong. (2022) ...................................................................................................... 18




                                                                   iii
    Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 4 of 22




                           INTEREST OF THE AMICUS CURIAE1

        Founded in 2014, the Chamber of Digital Commerce (“The Chamber”) is the world’s

largest digital asset and blockchain trade association. The Chamber represents more than 200

diverse members of the blockchain industry globally, including digital asset exchanges, leading

banks and investment firms, startups, and other digital asset economy participants. Guided by

the principle of promoting industry compliance with applicable law, The Chamber seeks to foster

a legal and regulatory environment in which digital asset users can enjoy regulatory certainty as

they apply blockchain technologies to an array of commercial, technological, and social

purposes. An important aspect of that mission is representing the interests of its members,

including regularly filing briefs as amicus curiae in novel cases that implicate issues of

importance to the blockchain community.2

        Pursuant to its mission, The Chamber also sponsors several compliance-focused initiatives,

in addition to advocating for regulatory clarity. These include the Blockchain Alliance, which

since 2015 has combatted criminal uses of blockchain technology, providing technical assistance

and information-sharing resources. This initiative serves over 100 governmental and commercial

entities, including the Securities and Exchange Commission (the “SEC” or the “Commission”).



1
    Defendants consented to this brief’s filing; the SEC declined to take a position but reserved the
    right to object upon review of the brief. No counsel for any party authored any part of this
    brief. No party, counsel, or person other than amicus, its members, or its counsel financed the
    brief’s filing or preparation. BAM Trading Services Inc., (“BAM Trading”) and BAM
    Management US Holdings Inc., are members of The Chamber, but neither entity nor its
    personnel participated in any way in the drafting of this brief.
2
    The Chamber has filed amicus briefs in other cases involving similar issues of law. For
    example, The Chamber recently filed an amicus brief in Securities and Exchange Commission
    v. Coinbase, Inc., et al., and Coinbase Global, Inc., which involves some issues similar to the
    present litigation. See Brief of Amicus Curiae, The Chamber of Digital Commerce, SEC v.
    Coinbase Inc. et al., Case No. 1:23-cv-04738-KPF, Dkt. No. 55 (S.D.N.Y. filed Aug. 11,
    2023).


                                                 1
    Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 5 of 22




The Chamber also encourages industry compliance with federal securities law through initiatives

like the Token Alliance, a network of 400+ thought leaders and technologists that has developed

numerous tools and resources for industry and policymakers as they engage with the blockchain

and digital asset community.

       The Chamber takes no position on the factual merits of any factual assertion made by the

SEC in its Complaint relating to alleged conduct by the Defendants. The Chamber’s interest in

filing this amicus brief is to assist the court in weighing the legal merits of the SEC’s allegations

that certain Defendants are required to register with the agency as national securities exchanges,

broker-dealers, and clearing agencies under the Securities Exchange Act of 1934, as amended

(“Exchange Act”) because they make available for trading certain tokens that the SEC alleges are

“securities” under applicable US securities laws.

                   INTRODUCTION AND SUMMARY OF ARGUMENT

       For decades, the United States has served as the center of the world’s digital economy.

This is the birthplace of early computer hardware companies like IBM, software companies like

Microsoft, digital media companies like Netflix, social media companies like Facebook, as well as

global leaders like Amazon, Apple and Google that offer a wide range of digital products and

services. These companies have benefitted from the legal and regulatory certainty offered by this

country’s laws, courts, and regulators. And U.S. workers and U.S. consumers, in turn, have

benefitted greatly from the efficiencies of the digital economy over the last several decades.

       Now, however, one of the newest frontiers of the digital economy—the trillion-dollar

blockchain economy—is conspicuously avoiding the United States, finding the regulatory

environment too opaque and too hostile to conduct business here. Blockchain technology enables

a community of users to record transactions in a highly secure ledger shared within that




                                                 2
    Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 6 of 22




community, without the need for a central authority (such as a government or a bank) to maintain

the ledger’s integrity. Some blockchains are capable of being deployed to solve a very wide range

of computational problems, while others may be used for more targeted purposes, such as hosting

a social media platform, a “metaverse” environment, or a video game. The use cases for this

technology are not restricted to a particular industry, but instead are limited in theory only by

human ingenuity.3

        This promising industry, however, is unfortunately developing primarily offshore, in large

measure because the SEC has adopted a regulation-by-enforcement approach, arbitrarily

categorizing various blockchain-based digital assets as securities and penalizing businesses for

failing to obtain SEC registrations that are not actually available to them. The SEC has not

proposed rules or released formal guidance regarding which digital assets do or do not constitute

securities. But despite this administrative regulatory silence, the SEC’s enforcement message to

blockchain businesses is loud and clear: If your operations in any way touch the United States,

then you risk protracted and costly SEC investigation and litigation. Not surprisingly, unlike



3
    A 2022 US Government Accountability Office (GAO) report illustrated blockchain’s many
    commercial use cases. Among others, the GAO Report highlighted non-financial use cases,
    such as using blockchain to ensure the reliability of supply chains with numerous suppliers
    who do not trust one another, without the use of escrow accounts, multiple contracts, and
    verification processes. Blockchain technology might reduce costs in this area by replacing the
    escrow provider with an automatically enforced set of rules enabling trustless data sharing over
    a computer network. In addition, companies are developing blockchain applications tailored
    to industries such as pharmaceuticals and food, to help combat counterfeit medicines, trace
    food-borne illnesses, and track food provenance. Potential public sector applications include
    maintaining property records, such as title transfer, or improving information sharing in federal
    agencies. For financial use cases, the GAO report found that blockchain has the potential to
    reduce costs and improve access to the financial system. United States Government
    Accountability Office, Report to Congressional Requesters, Technology Assessment,
    Blockchain, (March 2022) (the “GAO Report”), p. 10., https://www.gao.gov/assets/gao-22-
    104625.pdf.



                                                 3
    Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 7 of 22




previously emerging segments of the digital economy, blockchain businesses have grown up

largely outside of the United States, to the detriment of U.S. consumers and U.S. workers. The

harm this approach has caused has drawn bipartisan condemnation in Congress.

       In the instant action, the SEC has trained its sights on another U.S. digital assets exchange,

BAM Trading and certain affiliated entities, claiming (among other things) that various digital

“tokens”4 available for trading on the exchange constitute “investment contract” securities, and

that BAM Trading and its named affiliates are therefore subject to various registration

requirements under the federal securities laws. But the gravamen of the SEC's Complaint collapses

the long-recognized distinction between the subject of an investment-contract security, which

could be virtually any type of asset, and the “investment contract” itself, which may be a security

subject to U.S. law and regulation.

       Courts have long recognized this obvious distinction, in arrangements involving both

digital tokens and many other types of more conventional assets. For example, in the Supreme

Court’s seminal decision in S.E.C. v. W.J. Howey Co., 328 U.S. 293 (1946), the Court held that it

was the offer of an interest in a Florida citrus grove coupled with the right to receive a share of the

grove’s profits that constituted an “investment contract.” But of course, the Court did not hold

that the asset itself—the citrus grove— or its output—fruit—constituted a security.

       Despite the SEC’s dogged efforts to collapse the distinction between an investment

contract itself and the underlying subject of that contract, tokens generally available for trading on

exchanges are not a “contract, transaction or scheme” that is the embodiment of a security. The

SEC does not and cannot allege that the tokens traded here grant the holder a right to receive profits


4
    Blockchain networks use programmable digital assets, or “tokens” for a wide variety of
    purposes, including to conduct transactions, record changes of ownership, exchange verifiable
    data, and achieve coordination across organizations and on the web.


                                                  4
    Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 8 of 22




generated by the token creator or allocator, nor would any reasonable token holder believe that to

be the case. Rather, the token holder buys an ordinary asset through an exchange like BAM

Trading that may have some commercial or consumer use—not unlike oranges—or some

investment or speculative value—again, like many other non-security assets. A bundle of rights,

responsibilities, services and promises promoted by the issuer and creating an expectation of

profits by the investor arising from the issuer’s entrepreneurial or managerial efforts may be an

investment contract, such as an orange grove packaged with a management contract that promises

efforts by the promoter to generate profit for the holder, but the individual component parts alone

generally are not. When courts have addressed the issue (including recently with respect to

tokens), they have generally held that the subject of an investment contract—including tokens—

are not themselves an investment contract or other type of security.

       In bringing a case against the Defendants here, the SEC is suing the equivalent of a grocery

store selling oranges and other fruit, or an online ecommerce marketplace, like Amazon. Tokens

alone are not securities, and the markets where they are available to buy and sell are not securities

exchanges. Whether or not a token was initially sold as part of an “investment contract” is of no

consequence. The token alone, when sold on a secondary market between anonymous market

participants in blind bid/ask transactions, is not an investment contact. If it is, then the SEC could

conceivably extend its jurisdiction beyond securities and into a range of markets for products and

assets which may have once served as the subject of an investment contract, such as citrus groves,

oranges, chinchillas, or whiskey, and to the marketplaces and intermediaries through which those

ordinary assets or products are sold or resold.

       That cannot be right. This Court has the opportunity here to follow the path of other courts

who have analyzed the applicability of the securities laws to arrangements that embody investment




                                                  5
     Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 9 of 22




securities and maintain the distinction between those relationships, and the subject of those

arrangements, which are not themselves securities.5

        Moreover, given the size of the blockchain economy, the SEC’s attempt to treat tokens

as investment contract securities presents a “major question” under the U.S. Supreme Court’s

Major Questions Doctrine. The SEC should have sought proper authorization from Congress

rather than attempting to capture a bigger piece of the regulatory and enforcement pie via actions

such as this one.

        For these reasons, and those set forth below, this Court should grant the Defendants’

Motion to Dismiss.

                                           ARGUMENT

I.      The Regulation-by-Enforcement Approach Stifles Innovation and Drives Market
        Participants Offshore

        Despite its obvious interest in regulating blockchain businesses, the SEC has refused to

address digital assets via any of its ordinary administrative or regulatory procedures, such as public

notice-and-comment rulemaking or the publication of binding interpretive guidance. Instead, the

SEC has chosen to regulate principally by bringing enforcement actions, leaving market

participants guessing as to which assets the SEC will and will not consider to be securities next.

This unprecedented approach creates avoidable confusion, disruption and harm to the many

individuals and business that are part of the blockchain economy. Indeed, SEC Commissioner

Hester Peirce acknowledged earlier this year that “[u]sing enforcement actions to tell people what


5
     The Chamber takes no position in this brief on whether the tokens alleged to be securities in
     the SEC’s Complaint were or were not initially sold pursuant to an investment contract. The
     Chamber believes that, under applicable law, this issue has no bearing on whether a platform
     facilitating purchases and sales of the subject of such an investment contract has a national
     securities exchange, securities broker-dealer, or clearing agency registration obligation under
     the Exchange Act.


                                                  6
   Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 10 of 22




the law is in an emerging industry is not an efficient or fair way of regulating.” Commissioner

Hester M. Peirce, Kraken Down: Statement on SEC v Payward Ventures, Inc., et al, Feb. 9, 2023,

https://www.sec.gov/news/statement/peirce-statement-kraken-020923.

       This point was echoed by Republican Representative Patrick McHenry at a committee

hearing just a few weeks ago, who cautioned SEC Chair Gary Gensler that “your [agency’s] efforts

to choke off the digital asset ecosystem . . . has created real harm for consumers and our

markets. . . . You said the law is clear, but your actions have created more confusion and lasting

damage.” Patrick McHenry, Chairman, Financial Services Committee, Press Release, McHenry

to SEC Chair Gensler: While Your Time in This Role May be Temporary, the Repercussions of

Your     Actions     May     be     Permanent        for   the    Agency,      Sep.    27,     2023,

https://financialservices.house.gov/news/documentsingle.aspx?DocumentID=408984.               These

concerns with the SEC’s regulation-by-enforcement approach are bipartisan and widely shared.

For example, Democratic House Member Ritchie Torres recently wrote in a letter to Chair Gensler:

“The SEC has chosen to regulate not by clear rule or guidance but by enforcement actions,” urging

the agency to “reassess its regulatory assault on crypto assets.” Rep. Ritchie Torres, Letter to

Chair Gensler, Jul. 18, 2023, https://twitter.com/RepRitchie/status/1681336088873279488.

       The Chamber agrees. This Court should resist the SEC’s invitation to apply inapposite

“investment contracts” precedents to the underlying subject of the investment contract, digital

assets, rather than the investment contract itself, as this will stifle innovation and harm consumers

while sending jobs abroad. Indeed, the SEC’s scorched-earth enforcement program against

blockchain businesses—predictably—has already harmed investors. See Michael McSweeney,

Regulatory Uncertainty Keeps Traditional Asset Managers Out of the Crypto Space, Survey Takers

Say, The Block (May 31, 2020), perma.cc/WP9T-4MJ5; Parikshit Mishra & Jamie Crawley,




                                                 7
   Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 11 of 22




Nasdaq Halts Plan for Crypto Custody Service Due to U.S. Regulatory Conditions, CoinDesk (July

19, 2023), perma.cc/H4QR-4RH6; Helen Braun, ADA, SOL Underperform as Robinhood Gets Set

to Delist Them Amid SEC Crackdown, CoinDesk (Jun. 27, 2023), perma.cc/ZGK7-WP2G.

Commentators warn that “the United States is losing innovative startups to other countries with

more established regulatory cryptocurrency schemes.” See Avery Minor, Note, Cryptocurrency

Regulations Wanted: Iterative, Flexible, and Pro-Competitive Preferred, 61 Boston College L.

Rev. 1149, 1151 (2020) (citing examples). Similarly, a report found that merchants often cite a

regulatory environment that undermines trust in digital assets as the basis for refusing them as

payment. See Mengqi Sun, Regulatory Uncertainty Is a Barrier for Wider Bitcoin Adoption, Wall

Street J. (Apr. 6, 2022), perma.cc/9TJ7-7WQJ.

       Unlike in prior decades, when the United States was the leader in digital innovation, the

United States is now falling behind other countries in the blockchain space as a result of the

SEC’s power grab. This crusade against digital assets risks causing innovative technologies and

the companies behind them to block U.S. users, depriving U.S. consumers and participants

access to entirely new and emerging technologies that the rest of the world can access. This

would for the first time make America a laggard in the adoption of emerging technologies,

marking a contrast with earlier decades, when U.S. innovation powered the computer revolution

and subsequent internet boom.

       Further, even if SEC registration of digital assets and market intermediaries were required,

the current registration frameworks are not compatible with many use cases and commercial

deployments inherent in digital assets. Requiring the creators and allocators of digital assets and

the exchanges upon which they trade to register under the same regulatory framework used for

traditional securities and market participants would undermine the commercial and consumer




                                                8
   Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 12 of 22




utility of digital assets without a concomitant regulatory benefit. Because securities must be

purchased and sold through intermediaries like broker-dealers or national securities exchanges

registered under the Exchange Act, ordinary transactions involving digital assets that must be

registered as securities would require the use of SEC-registered intermediaries—a service not

currently offered by SEC registrants to The Chamber’s knowledge.

       All of this would lead to an absurd result.        Should every company seeking to use

blockchain-based payments really be expected to register with the SEC as a securities exchange,

broker-dealer, or clearing agency, and comply with the voluminous financial regulations that those

traditional financial institutions are subject to? Moreover, by targeting the specific tokens that it

does in the Complaint (which include several digital entertainment and gaming tokens, see Compl.

¶ 352) the SEC is targeting various commercial, consumer and entertainment companies that the

securities laws were not intended to cover as regulated businesses. To put it mildly, there is no

evidence that Congress ever intended to treat digital entertainment companies that build

blockchain-based metaverse apps, computer games, or virtual reality worlds and offer products

that can be used in those apps as regulated securities business and securities transactions. The

SEC nevertheless seeks to treat these businesses and marketplaces where their tokens are sold like

the New York Stock Exchange or Charles Schwab.

       The SEC’s “answer” to the industry of “come in to register” is no answer at all. Ultimately,

the securities laws—built around capital formation, investor protection, disclosure and

transparency—are a poor fit for an industry structured around the core values of decentralization

and disintermediation and would make it impossible to conduct ordinary consumer and

commercial pursuits. That means U.S. consumers and companies will lose access to these products

and lose out on market share in this promising and fast-growing sector of the global economy,




                                                 9
      Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 13 of 22




simply due to regulatory uncertainty caused by the SEC’s regulatory overreach. Ultimately, the

SEC’s unchecked enforcement efforts, if ratified by courts, will push industry members offshore

and deprive the United States of the ongoing benefits of an industry that is undoubtedly destined

to grow, with plenty of innovation still to unlock.

II.     An Asset that is a Subject of an Investment Contract is not Itself an Investment
        Contract, so a Venue where that Asset is Traded is not a Securities Exchange

        The Complaint alleges that certain tokens trading on the Defendants’ platforms are

“investment contracts” and therefore securities. Compl. ¶ 352. This is simply incorrect. While

these tokens may (or may not) be a subject of an investment contract, they themselves are not

investment contracts. In Howey, the Supreme Court found that an investment contract existed

where title to parcels of land acquired by an investor were coupled with a management contract

with a promoter, who contractually agreed to grow citrus trees on the land, harvest the citrus, and

split the profits with the landowners. SEC v. W.J. Howey Co., 328 U.S. 293 (1946). The Court

held that this arrangement constituted a “contract, transaction, or scheme” that was an investment

contract. Id. at 298–99. The Court did not hold, of course, that the land, the citrus trees growing

on the land, or the fruit that was sold from those trees constituted securities in and of themselves.

That is precisely what the SEC asks this Court to do, in a break with precedent and with logic. The

Court should reject the SEC’s expansive definition of “investment contracts.”

        A.     Courts Consistently Distinguish Between the Subject of an Investment
               Contract and the Overall Arrangement

        Courts have found the Howey “investment contract” test satisfied with regard to a variety

of contracts, transactions, or schemes involving unconventional subjects, including: citrus fruit

and citrus groves (Howey, 328 U.S. at 299); films (United States v. Leonard, 529 F.3d 83, 87–91

(2d Cir. 2008)); cow embryos (Bailey v. J.W.K. Prop., Inc., 904 F.2d 918, 924–25 (4th Cir. 1990);

licenses to sell dental products (SEC v. Aqua-Sonic Prods. Corp., 687 F.2d 577, 582 (2d Cir.


                                                 10
   Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 14 of 22




1982)); whiskey and whiskey casks (SEC v. Glen-Arden Commodities, 493 F.2d 1027, 1034 (2d

Cir. 1974)); chinchillas (Miller v. Cent. Chinchilla Grp., Inc., 494 F.2d 414, 416–18 (8th Cir.

1974)); and bank certificates of deposit (Gary Plastic Packaging Corp. v. Merrill Lynch, Pierce,

Fenner & Smith, Inc., 756 F.2d 230, 240 (2d Cir. 1985)). In none of these cases did the court

determine that the underlying subject of the investment contract was a security or that a

marketplace where the underlying asset or consumer product could be purchased and sold was a

securities broker-dealer or securities exchange. As would otherwise seem obvious, neither has the

SEC asserted nor any court held that a store that buys and sells oranges (Howey), or a liquor store

that sells whiskey (Glen-Arden), or a cattle-breeding program that acquires and sells cow embryos

(J.W.K. Prop., Inc.), needed to register with the SEC in any capacity. To do so would extend the

jurisdiction of the SEC and the reach of U.S. securities law into multiple, disparate sectors of the

U.S. economy that have nothing to do with the securities markets.

       The court has an opportunity to draw a clear line here. While The Chamber agrees that

“investment contracts” that embody the essential attributes of securities are and should be subject

to SEC jurisdiction, tokens that may have been the subject of such an arrangement but are no

longer coupled with the investment opportunity and arrangement promoted by the issuer are not

themselves securities. And anonymous secondary transactions in those subject assets, whether or

not done on a marketplace that calls itself an “exchange,” are ordinary asset sales and nothing

more—not securities transactions.

       B.      Recent Court Decisions Generally hold that Tokens are not Investment
               Contract Securities

       As tokens are a relatively new form of asset, judicial opinions analyzing tokens within the

existing legal and regulatory frameworks are also relatively new. Recent cases, however, support

the proposition that tokens—which can represent rights to almost anything and may have all kinds



                                                11
   Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 15 of 22




of commercial uses—are not themselves investment contracts. As the court explained in Ripple,

the subject of an investment contract—XRP tokens at issue in that case—is not itself inherently an

investment contract:

               The plain words of Howey make clear that “an investment contract for
               purposes of the Securities Act means a contract, transaction[,] or scheme.”
               But the subject of a contract, transaction, or scheme is not necessarily a
               security on its face. Under Howey, the Court analyzes the economic reality
               and totality of circumstances surrounding the offers and sales of the
               underlying asset. Howey and its progeny have held that a variety of tangible
               and intangible assets can serve as the subject of an investment contract. In
               each of these cases, the subject of the investment contract was a standalone
               commodity, which was not itself inherently an investment contract. . . .
               XRP, as a digital token, is not in and of itself a “contract, transaction[,] or
               scheme” that embodies the Howey requirements of an investment contract.

SEC v. Ripple Labs, Inc. et al., No. 20 Civ. 10832 (AT), 2023 WL 4507900, at *8 (S.D.N.Y. July

13, 2023) (internal citations omitted).

       The Ripple court then analyzed the different transactions involving the sale and distribution

of XRP and concluded that so-called “Institutional Sales” of XRP constituted securities

transactions. Id. at 2023 WL 4507900 at *14–16. The court found that these sales—which were

negotiated transactions typically involving written contracts and promotional materials that

emphasized Ripple's managerial efforts designed to generate profits—constituted investment

contract securities. Id. In contrast, the court found that initial distributions of XRP tokens through

blind bid/ask transactions on cryptocurrency exchanges were not securities transactions because

these sales were not coupled with representations and promises that Ripple would undertake efforts

to generate profits for the purchasers. Id. at 16. The Ripple court further recognized that the SEC’s

theories involving anonymous exchange transactions "are potentially inconsistent with its

enforcement in prior digital asset cases.” Id at 22.

       The Ripple court’s skepticism illustrates the shaky foundations on which the SEC’s theory




                                                 12
   Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 16 of 22




that it can regulate markets in the subjects of investment contracts rests. Although the Ripple court

expressly stated that it did not address whether secondary market sales of XRP constitute offers

and sales of investment contracts, the court’s reasoning about blind bid/ask initial sales

transactions on exchanges is instructive and should apply with even greater force to secondary

market transactions not involving the issuer. In distinguishing between the initial distribution and

secondary trading in XRP, the Ripple court stressed that a secondary market transaction in the

subject of an investment contract—a token—is not inherently a securities transaction.

       A District of New Hampshire judge in the LBRY litigation seemingly reached the same

conclusion during oral argument. Although that court found an investment contract as to the

primary token offering and sale, the court explained during oral argument that it does not

necessarily follow that the token that was the subject of the contract was itself the security or that

secondary sales of the token should be restricted. The court recognized that tokens may have

consumptive uses and such tokens should be regulated as commodities rather than as securities:

               [T]his issue of secondary acquirers of LBC [tokens] . . . is an issue that has
               been of concern to me from the beginning, but it’s not an issue that the
               parties have litigated with me. . . . it, does not necessarily follow that the
               token is the security that is restricted. What I was focused on is what the
               parties were litigating, [which] was whether these particular offerings of the
               token were securities offerings, and I said that they were. That does not
               necessarily mean that every . . . resale of the token violates the Securities
               Act because it’s a restricted security. . . . At some point the SEC is going
               to have to [litigate the issue of secondary transactions in non-securities
               tokens], because there are a lot of tokens that have consumptive use that
               maybe ultimately should be regulated as a commodity rather than as a
               security. But that’s not me. That’s not my job. That’s the SEC’s job, and
               I can’t make the SEC litigate something in front of me that it doesn’t want
               to. . . . And I can tell you this, though: I don’t have the power to take up
               issues that the SEC doesn’t choose to litigate with me, but I can be
               absolutely clear I’m not going to do anything to restrict resales of LBC
               [tokens] in this case, because the SEC had its chance to argue that in front
               of me, and they are not arguing it. So, to the extent that somebody has some
               kind of concern that this Court is going to restrict resales of LBC, I’m not,
               because I think that raises interesting issues. . . . . I’m going to make it very



                                                  13
   Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 17 of 22




               clear that nothing in my order has anything to do with secondary sales . . .
               .

Transcript of Motions Hearing Before Judge Paul J. Barbodoro, SEC v. LBRY Inc., No. 1:21-cv-260-

PB, Dkt. No. 105, at 24:24-25, 25:1-22, 26:4-11, 34:14-16 (D.N.H. Jan. 30, 2023) (emphasis added).

       Other courts have recently reached similar conclusions. For example, in SEC v. Telegram

Group Inc., the court explained that “the security in this case is not simply the [token] . . . . Howey

refers to an investment contract, i.e., a security, as a ‘contract, transaction or scheme’ . . . that

consists of the full set of contracts, expectations, and understandings centered on the sales and

distribution of the Gram [token].” SEC v. Telegram Grp. Inc.,448 F.Supp.3d 352, 379 (S.D.N.Y.

2020). Yet another court further affirmed this same principle recently in SEC v. Terraform Labs

Pte. Ltd., 2023 WL 4858299 (S.D.N.Y. July 31, 2023). The SEC alleged that the creator or

allocator of the UST and Luna tokens engaged in an illegal securities offering under the Securities

Act of 1933, as amended (“Securities Act”). In its opinion, the court explained that:

       To be sure, the original UST and LUNA coins, as originally created and when
       considered in isolation, might not then have been, by themselves, investment
       contracts. Much as the orange groves in Howey would not be considered securities
       if they were sold apart from the cultivator’s promise to share any profits derived
       by their cultivation, the term “security” also cannot be used to describe any crypto-
       assets that were not somehow intermingled with one of the investment “protocols,”
       did not confer a “right to . . . purchase” another security, or were otherwise not tied
       to the growth of the Terraform blockchain ecosystem. . . . So, in theory, the tokens,
       if taken by themselves, might not qualify as investment contracts.”

Id. at 20 (emphasis added).

       In sum, an investment contract is a contract, transaction or scheme that is the embodiment

of a security, as is common stock or a bond. Secondary transactions in stocks and bonds are

securities transactions because stocks and bonds are securities, as would be a secondary sale of the

investment contract. The subject of an investment contract, however, unlike the investment

contract, is generally not itself a security once it is separated from the bundle of rights,



                                                  14
      Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 18 of 22




responsibilities, services, and promises that comprise the investment contract. The subject is just

an ordinary asset in most cases. See e.g., Howey, 328 U.S. at 299; Glen-Arden, 493 F.2d at 1034;

Bailey, 904 F.2d at 925.

          C.     Transactions in Tokens that are not Securities do not Trigger Exchange Act
                 Registration Requirements

          A token transaction in most cases is just an ordinary sale of an asset that has some

consumer, commercial or speculative value, like any commodity. Even assuming arguendo that

the tokens listed in the Complaint are the subject of an investment contract, an exchange or other

platform facilitating transactions in the tokens may need a license of some type, but not from the

SEC unless the asset is a security.

          The SEC does not have jurisdiction over non-securities markets.               The SEC has

acknowledged the limitations of its jurisdiction in many contexts, even where the price of an asset

sold on an electronic marketplace varied wildly, the asset generated profits or losses upon resale,

or the asset attracted speculators. See, e.g., The Ticket Reserve, Inc., SEC No Action Letter, Sept.

11,     2003,    https://www.sec.gov/divisions/corpfin/cf-noaction/ticketreserve091103.htm,         and

Incoming Letter (“[n]either a seat ticket nor a right to acquire it is a security. . . . Nor does the

buying and selling of an event ticket, in the hope that the price of the ticket will increase, involve

the trading of a security.”) The Chamber is aware of no federal court decisions finding that a

platform facilitating the purchase and sale of the underlying subject of an investment contract

needed to register with the SEC under applicable federal securities laws.6


6
      The Second Circuit decision in Gary Plastics is not inconsistent. There, the court found an
      investment contract in respect of bank certificates of deposit based on statements by a selling
      broker that it “fully intends to maintain a secondary market for its customers which would
      enable them to sell” the instruments they were buying from the broker. The broker committed
      to repurchase the certificates of deposit itself if interest rates dropped, guaranteeing investors
      both liquidity and a profit that they would not otherwise have made had they purchased the



                                                   15
       Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 19 of 22




III.       The SEC’s Regulation-By-Enforcement Regime Raises Separation of Powers And
           Due Process Concerns

           The SEC is wrong to paint virtually all digital assets as securities. Tokens, on their own,

are not “investment contracts.” The SEC’s decision nevertheless to consider most digital assets as

securities raises grave separation of powers concerns under the Major Questions Doctrine, because

the SEC is asserting jurisdiction over a major part of the economy that Congress did not intend for

it to regulate. If the SEC is not compelled to restrict itself to regulating securities and instead can

regulate businesses that sells assets that may have been the subject of an investment contract, the

SEC's jurisdiction would extend to many marketplaces and intermediaries for ordinary products,

including e-commerce platforms for transactions in such assets, like eBay or Amazon.7 That

plainly implicates a major question.

           The Major Questions Doctrine requires dismissal of the Complaint in deference to

Congress’s prerogative to decide how to regulate generally, “a significant portion of the American

economy.” See e.g., West Virginia v. EPA, 142 S. Ct. 2587, 2608-09 (2022); Biden v. Nebraska,

143 S. Ct. 2355, 2373 (2023). FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 159

(2000). In Alabama Association of Realtors v. HHS, the Court found that “$50 billion in

emergency rental assistance” was “a reasonable proxy for the [challenged policy’s] economic

impact,” and that this was enough to trigger major-questions scrutiny. 141 S. Ct. 2485, 2489

(2021). The Nebraska Court, noting that if $50 billion in rental assistance was enough to “trigger[]

analysis under the major questions doctrine,” then a student-loan cancellation amounting to “ten



       certificate of deposit from the issuer and been exposed to interest rate risk. The court explained
       that the customers relied on the skill and financial stability of the broker in making their
       investment decision. Gary Plastics Packaging, 756 F.2d at 240.
7
       Obviously, any company which offers investment contracts that are securities is subject to the
       securities offering registration requirements under the Securities Act of 1933.


                                                    16
   Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 20 of 22




times” that impact necessarily qualified as well. 143 S. Ct. at 2373.

       The economic stakes implicated by the SEC’s theory in the Complaint dwarf those in the

cases cited above, given the size of the blockchain economy. See Cryptocurrencies –United States,

Statista, perma.cc/YK3U-XG24 (last visited Oct. 9, 2023). By comparison, the production value

of tobacco crops in 2000, the year the Supreme Court applied the major-questions doctrine to

tobacco regulation in Brown & Williamson, was only $2 billion. See USDA, Crop Production

Historical Track Records 264 (2023), perma.cc/9ZR2-GWB2. Clearly, in light of past Supreme

Court cases, the SEC’s actions raise an issue of vast economic importance, and is an attempt to

regulate a “significant portion of the American economy.”

       Likewise, this case confronts issues of considerable political significance. “[D]eep . . .

political significance” can be found where Congress has “considered and rejected” the legislative

adoption of similar regulatory schemes. West Virginia, 142 S. Ct. at 2614 (quoting Brown &

Williamson, 529 U.S. at 144). In West Virginia, the Court faulted the government for adopting,

“at bottom,” a cap-and-trade program the likes of which Congress “ha[d] consistently rejected . . .

long after the dangers posed by greenhouse gas emissions ‘had become well known.’ “ Id. (quoting

Brown & Williamson, 529 U.S. at 144); See also, Nebraska, 143 S. Ct. at 2373–74 (doctrine

triggered where “[t]he Secretary’s assertion of administrative authority has ‘conveniently enabled

[him] to enact a program’ that Congress has chosen not to enact itself.”).

       Similarly, Congress has long expressed interest in adopting a regulatory framework around

digital assets but has declined—as yet—to do so. Indeed, members of Congress have introduced

dozens of bills relating to digital asset regulation. See Brief of Amicus Curiae, Senator Cynthia

Lummis, SEC v. Coinbase Inc. et al., Case No. 1:23-cv-04738-KPF, Dkt. No. 53 (S.D.N.Y. filed

Aug. 11, 2023), p. 5–7 (listing major pieces of legislations introduced, including the Responsible




                                                17
    Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 21 of 22




Financial Innovation Act (RFIA), S. 2281, 118th Cong. (2023); The Financial Innovation and

Technology for the 21st Century Act (FIT21), H.R. 4763, 118th Cong. (2023); and the Digital

Commodities Consumer Protection Act of 2022 (DCCPA), S. 4760, 117th Cong. (2022)). This

level of congressional interest—including over whether digital assets should be classified as

securities—strongly counsels against allowing the SEC to appropriate the authority through

industry litigation. Rather than leaving these issues to Congress, the SEC has seemingly taken

matters into its own hands, using enforcement to do what Congress has declined to do through

legislation.

        Finally, Ripple has sparked even more congressional interest, further demonstrating in real

time the “political significance” of the “major question” at hand. The House Financial Services

and House Agriculture Committees recently advanced bipartisan legislation to clarify the

regulatory status of digital assets. Hannah Lang, Crypto Bill Passes Congressional Committee in

Victory for Industry, Reuters (Jul. 26, 2023), perma.cc/8WYL-Y5L6. And Senator Cynthia

Lummis, who sponsors the Responsible Financial Innovation Act, which would create a

framework for classifying digital assets under existing commodities and securities regulatory

regimes, stated that Ripple “confirms the need for Congress to deliver a clear regulatory structure

for the digital asset industry that provides the highest level of consumer protection” and should

inspire Congress to pass legislation “uphold[ing] the Howey test as interpreted by the Southern

District of New York.” Senator Cynthia Lummis, Lummis Releases Statement in Response to

Ripple Decision (Jul. 14, 2023), perma.cc/XHE3-V78B.8 In short, a “major question” is plainly



8
    Likewise, several members of Congress have urged the SEC to end its regulation-by-
    enforcement regime and allow Congress to provide a path forward. See Letter from
    Representatives French Hill & Dusty Johnson to SEC Chair Gary Gensler (Jul. 19, 2023),
    perma.cc/UV5N-QPTH (warning that the SEC’s “regulate by enforcement . . . approach does



                                                18
   Case 1:23-cv-01599-ABJ-ZMF Document 159-1 Filed 10/19/23 Page 22 of 22




presented as to whether the SEC has the statutory authority, and courts should not defer to the

agency’s interpretation of the statute but should insist on a clear statement from Congress

conferring upon the agency the “staggering” regulatory authority it asserts. Nebraska, 143 S. Ct.

at 2373.

                                        CONCLUSION

       For the reasons set forth above, Defendants’ Motion to Dismiss should be granted.



Dated: October 19, 2023                        /s/ Weisiyu Jiang

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   not protect the public” and calling for a “statutory framework [that] would establish a process
   for firms to come into the regulatory parameter . . . rather than relying on enforcement
   actions”); Letter from Representative Ritchie Torres to SEC Chair Gary Gensler (Jul. 18,
   2023), perma.cc/SM95-4HEY (condemning the SEC for “cho[osing] . . . to regulate not by
   clear rule or guidance but by enforcement actions, often politically timed”).


                                               19
